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WESTERN DIsTRICT oF TENNESSEE _

Western Division 95 AUG 25 Pl‘l 3- 26
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"’“ ease No. 2:0scr2 291-001B

JAMES TAYLOR BANKS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law While on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Office, defense counsel

and the U.S. Attorney in Writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraigmnent in the United States Courthouse and
Federal Building in Courtroom M-3 on Wednesday, August 31, 2005, at 9:30 a.m..

ADD|T|ONAL CONDlTlONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
cornmunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
¢ report as directed by the Pretrial Services Oft"lce.
0 abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee.

0 not to possess a firearm or other destructive device

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

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AO MA Order Sewng Cundmms ome-lease _11\’\]§{]11Mg§%%nd!or;sa(b) ‘.[=EW:<P on*__m"__..,,s »..,..w...» we b

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The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. Tliis sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a 3250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witiiess, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than 3250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. ln addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that l am aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposedl lam aware

of the penalties and sanctions set forth above.

/ "\- Signature of Defendant

James Taylor Banks

XXX-XX-XXXX

6752 Ross Ridge Rd.
Memphis, TN 33141

DlRECTIONS TO THE UN|TED STATES MARSHAL

l:| The defendant is ORDERED released after processing

l:l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

f r""“'_'
Date; August 25, 2005 » / m
. S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

AO 199A Order Settln| Condilions of ReFease '2'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20291 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

